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Chapter 13 Plan Form, Revised 10/24/2005
                                                         CHAPTER 13 PLAN
                                                    United States Bankruptcy Court
                                                    Northern District of Mississippi                                   CASE NO. 10-10576

Debtor Lowe, Jason A                               SS # XXX-XX-1568   Current Monthly Income $ 2,753.27
Joint Debtor                                       SS # XXX-XX-       Current Monthly Income $ 0.00
Address 205 N East Boundary St Holly Springs, MS 38635-2632                        No. of Dependents 0
Telephone No. (662) 544-2150                 TAX REFUNDS AND EIC FOR DISTRIBUTION:

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may be
confirmed, and the treatment of all secured / priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of 60 months, not to exceed 60 months. Debtor or Joint Debtor will make payments directly to
the Trustee ONLY if self-employed, unemployed, or the recipient of government benefits.

(A) Debtor shall pay $215.00 per ( monthly / semi-monthly /            weekly /    bi-weekly) to the Chapter 13 Trustee. A payroll
    deduction order will be issued to Debtor to be paid directly.

(B) Joint Debtor shall pay $                   per ( monthly / semi-monthly /           weekly /     bi-weekly) to the Chapter 13
    Trustee. A payroll deduction order will be issued to Debtor’s employer:


PRIORITY CREDITORS. Filed claims that are not disallowed to be paid in full:
IRS                                               $           0.00 @ $                    0.00 /mo
State Tax Commission                              $           0.00 @ $                    0.00 /mo
Other                                             $           0.00 @ $                    0.00 /mo

DOMESTIC SUPPORT OBLIGATIONS (POST PETITION) DUE TO:

beginning month            in the amount of $               per month shall be paid:    direct     through payroll deduction       through
the plan.

PREPETITION DOMESTIC SUPPORT ARREARAGE CLAIMS DUE TO:

in the amount of $               shall be paid $             per month:    through payroll deduction           through the plan.

HOME MORTGAGE(S)
MTG PMTS TO: Bank Of America BEGINNING 06/10 @$ 730.00   PLAN DIRECT
MTG ARREARS TO: Bank Of America THROUGH 05/10 $4,340.00 @$72.33/MO* (*including interest at 0.00%)

SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) under 11 U.S.C. 1325(a)(5)(B)(i)
until plan is completed and be paid as secured claimant(s) the sum set out in the column “Total Amt. to be Paid” or pursuant to Order
of the Court. That portion of the claim not paid as secured shall be paid as an unsecured claim.

                                                                   Approx.                           Intrst.      Total Amt.       Monthly
Creditor’s Name                 Collateral                       Amt. Owed             Value          Rate        To Be Paid       Payment
None                                                                                                     %

SPECIAL CLAIMANTS. (Co-signed debts, collateral for abandonment, etc.) ON ABANDONED COLLATERAL, DEBTOR TO
PAY ZERO ON SECURED PORTION OF DEBT. Where proposal is for payment, creditor must file a proof of claim to receive
proposed payment.

                                                                          Approx.
Creditor’s Name                        Collateral or Type of Debt       Amt. Owed Proposal to be Paid
                                                                                     pay outside plan to
SecurTrust Federal Credit Union        2002 Toyota Tacoma                $8,500.00      protect cosigner

SPECIAL PROVISIONS for all payments to be paid through the plan, including, but not limited to, adequate protection payments:

Debtor’s Initials JL Joint Debtor’s Initials                                                       CHAPTER 13 PLAN, PAGE 1 OF 2
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UNSECURED DEBTS totaling approximately $25,705.65 are to be paid in deferred payments to Creditors that have filed claims that
are not disallowed:    IN FULL or tbd% (PERCENT) MINIMUM. Trustee to determine correct percentage to be paid to
unsecured creditors timely filing claims.

Total Attorney Fees Charged $ 2,800.00                          Pay administrative costs and debtor’s attorney fees pursuant to
Attorney Fees Previously Paid $ 0.00                            Court Order and/or local rules.
Attorney fees to be paid through the plan $ 2,800.00

Name/Address/Phone # of Vehicle Insurance Co./Agent             Attorney for Debtor (Name/Address/Phone # / Email)
                                                                Karen B. Schneller
                                                                Karen B. Schneller
                                                                Post Office Box 417
                                                                Holly Springs, MS 38635
                                                                Telephone/Fax (662) 252-3224 (662) 252-2858
                                                                E-mail Address karen.schneller@gmail.com
Telephone/Fax:

DATE: April 1, 2010                  DEBTOR’S SIGNATURE /s/ Jason A Lowe
                               JOINT DEBTOR’S SIGNATURE
                                  ATTORNEY’S SIGNATURE /s/ Karen B. Schneller




Debtor’s Initials JL Joint Debtor’s Initials                                                CHAPTER 13 PLAN, PAGE 2 OF 2
